                            EXHIBIT E




Case 20-04002-MJH   Doc 73-12   Filed 11/13/20   Ent. 11/13/20 21:51:27   Pg. 1 of 12
                                         Henry & DeGraaff, P.S.

       Christina L Henry
       chemy@hdm-legal.com

       January 8, 2020


         PHH Mortgage Services                                     PHH Mortgage Services
         1 Mortgage Way                                            Attn: Registered Agent
         Mount Laurel, NJ 08054                                    Corporation Service Company
                                                                   300 Deschutes Way SW
                                                                   Ste 304
                                                                   Tumwater, WA 98501

         Robert McDonald                                           HSBC Bank USA, N .A., as Trustee
         Quality Loan Service Corp. of WA                           of the Fieldstone Mortgage Investment
         108 pt Ave S                                              Trust, Series 2006-2
         Suite 202                                                 Attn: Noel Quinn, CEO
         Seattle, WA 98104                                         425 5th Ave
         rmcdonald@gualityloan.com                                 New York, NY 10018

         Lance E. Olsen                                            John A. McIntosh
         McCarthy Holthus, LLP                                     Schweet Linde & Coulson, PLLC
         108 pt Ave S                                              575 S. Michigan Street
         Seattle, WA 98104                                         Seattle, WA 98108
         lolsen@mccaarthyholthus.co'm                              Attorney for IH6 Property Washington, LP


                 Re:      VIOLATION OF THE BANKRUPTCY AUTOMATIC STAY; 11 USC§
                          362(a)
                          Bankruptcy Cause No. 19-42890-MJH
                          Bankruptcy Filed 9/9/2019 / Dismissed 9/26/2019
                          Debtor: Sarah Hoover
                          Property Address: 18205 106th StE, Bonney Lake, Wash., 98391
                          Parcel No. 700174030
                          Loan# xxxxxx5107
                          Deceased Borrower: Ali Suleiman (deceased on March 2, 2015)
                          Trustee Sale No.: WA-18-835092-SW
                          Title Order No.: TSG1719-WA-330163 611169299


        To Whom It May Concern,

                As you will recall from my November 26, 2019 letter in the above-referenced matter,
        I represent Sarah Hoover (the successor in interest and heir to the estate of the deceased
        single man, Ali Sulieman).                                        ·

                Ms. Hoover had filed a Chapter 13 bankruptcy petition on September 9, 2019, but her
        home was ne:vertheless sold via nonjudicial foreclosure on September 13, 2019. Because of
        the automatic stay, the sale was void. However, as of today's date, no involved entity has

                                                                                                                       HOOVER000935
Case 20-04002-MJH           Doc
            787 Maynard Ave S, Seattle,73-12        Filed
                                       WA 98104. Phone:       11/13/20
                                                        1-206-330-0595             Ent. 11/13/20
                                                                       / Fax: 1-206-400-7609                  21:51:27 Pg. 2 of 12
                                                                                             / email: mainline@hdm-legal.com
    Automatic Stay Violation
    January 8, 2020
    taken any meaningful steps toward rectifying the automatic stay violation. This letter serves
    as one last opportunity for the involved parties to minimize Ms. Hoover's damages.

                                               Status of the residence

            Title to the property (which is the subject of this matter which is located at 18205
    106th St E, Bonney Lake, WA, 98391) remains with the purchaser at the (void) trustee's sale,
    TS No. WA-18835092-SW. Although Ms. Hoover and her husband remain in the property, it
    would be incorrect to call them ''tenants." Even still, my client and her husband have been
    asked to pay an amount much larger than the mortgage payment as "rent," although the status
    of the threat to enforce rental payments remains unclear. Simply put, my client has no clarity
    on whether she will wake up tomorrow to find an eviction notice from her own house.

                                              Status of Surplus Funds

            My client has not been informed of the amount or the location of the surplus funds
    received from the (void) foreclosure sale, which should be substantial. At a minimum, she
    should have been provided notice so that she could. use the funds to help cover her costs and
    damages while the parties to this letter decide whether they wish to conform their conduct to
    the automatic stay. It is unclear who is retaining earned interest on these funds, and why
    interest on these funds is not being paid directly to my client.

                                  Ms. Hoover's Damages Continue to Accrue

            Aside from the trauma of losing her late father's home (and the home where she
    lives), Ms. Hoover has been required to engage counsel, whose ongoing involvement in this
    matter is increasingly costly. Ms. Hoover is under constant stress and fear of being evicted
    from her own home. She worries about the future ramifications of the past several months -
    for example, whether she will be a necessary party to any future litigation between the
    purchaser and those involved in the foreclosure sale. 1

           It is further unclear how, given the passage of time, Ms. Hoover can be placed in her
    ex ante position. She has no idea how (or whether) the loan can be reinstated at its prior
    position (including maturity date, etc.), and she cannot be required to apply for a new loan,
    given that this foreclosure sale never should have occurred in the first place.

                                        No Solutions Have Been Provided

            I have received several emails from [insert names and maybe dates here] purporting to
    address this issue. Each of the proposed courses of action are incomplete, and improperly
    place the onus on my client to somehow negotiate possession of her home as a result of the
    stay violation. Although I should not need to explain this, it is not my client's
    responsibility to remedy the violation of the automatic stay. In fact Ninth Circuit case
    law says that

           At no point has any party taken any affirmative steps to restore Ms. Hoover's title in
    the property, and at no point has anyone provided a timeline or.estimate for the few actions
    which they do intend on taking. This is not a problem of Ms. Hoover's making, and she is


    1   My client suspects that - assuming the purchaser is making property tax payments at present - the purchaser
    will seek reimbursement for its expenditures.
                                                             2
                                                                                           HOOVER000936
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    Automatic Stay Violation
    January 8, 2020

    not required to generate a multi-party action plan for the "approval" of others. Now is the
    time to take action to ameliorate the stay violation.

           Ms. Hoover will, of course, make herself available on reasonable advance notice to
    sign documents or transfer of title paperwork, if that makes the process easier.

                             Action Must Be Taken By February 3, 2020

             This matter needs to be resolved so that Ms. Hoover and her family can move forward
    with their life in their own home. As no actions have been taken since my November 26, 2019
    letter, it is apparent that this matter will require court intervention. Accordingly, I plan to file
    an action seeking damages for the violation of the automatic stay no earlier than Monday,
    February 3, 2020.

            At this time, the parties to this letter are on notice so that they may mitigate any liability
    by acting promptly to restore title to my client. I will ask the court to determine the extent of
    my client's damages (both economic and noneconomic), as well as attorney's fees, costs, and
    punitive damages.

          Alternatively, we can resolve the matter prior to February 3, 2020 if my client is fully
    compensated for all of her damages.

           As it goes without saying but please direct all future communications to my attention,
    not my client.

                                                            Sincerely,




                                                            c~a31273
                                                            Attorney for Sarah Hoover




                                                      3
                                                                                   HOOVER000937
Case 20-04002-MJH         Doc 73-12        Filed 11/13/20       Ent. 11/13/20 21:51:27 Pg. 4 of 12
 NAME OF PARTY / ACCOUNT REFERENCE                                DECLARATION OF MAILING
                                                                  CERTIFICATE OF SERVICE
 SARAH HOOVER




On 1/9/2020, I did cause a copy of the following documents, described below,
Ltr PHH and the automatic stay - dated 1-8-2019




to be served for delivery by the United States Postal Service, via First Class United States Mail, First Class, postage prepaid, with
sufficient postage thereon to the parties listed on the mailing matrix exhibit, a copy of which is attached hereto and incorporated as if
fully set forth herein.

Parties who were mailed documents via certified mail, return receipt requested, are those listed as certified on the attacheed mailing
matrix.
I caused these documents to be served by utilizing the services of BK Attorney Services, LLC d/b/a certificateofservice.com. A copy
of the declaration of service is attached hereto and incorporated as if fully set forth herein.

DATED: 1/9/2020
                                                           /s/ Christina Henry
                                                           Christina Henry 31273
                                                           Henry & DeGraaff, PS
                                                           787 Maynard Ave S
                                                           Seattle, WA 98104
                                                           206 330 0595




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            Case 20-04002-MJH            Doc 73-12       Filed 11/13/20       Ent. 11/13/20 21:51:27 Pg. 5 of 12
 NAME OF PARTY / ACCOUNT REFERENCE                                DECLARATION OF MAILING
                                                                  CERTIFICATE OF SERVICE
 SARAH HOOVER




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                                                           /s/ Christina Henry
                                                           Christina Henry 31273
                                                           Henry & DeGraaff, PS
                                                           787 Maynard Ave S
                                                           Seattle, WA 98104
                                                           206 330 0595




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            Case 20-04002-MJH            Doc 73-12       Filed 11/13/20       Ent. 11/13/20 21:51:27 Pg. 6 of 12
PARTIES DESIGNATED AS "EXCLUDE" WERE NOT SERVED VIA USPS FIRST CLASS MAIL
PARTIES WITH A '+' AND DESIGNATED AS "CM/ECF E-SERVICE" RECEIVED ELECTRONIC NOTICE THROUGH THE CM/ECF SYSTEM

CERTIFIED                                CERTIFIED
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PHH MORTGAGE SERVICES                     PHH MORTGAGE SERVICES
1 MORTGAGE WAY                           CORPORATION SERVICE COMPANY
MOUNT LAUREL NJ 08054                    300 DESCHUTES WAY SW


                                         STE 304
                                         TUMWATER WA 98501




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          Case 20-04002-MJH        Doc 73-12      Filed 11/13/20       Ent. 11/13/20 21:51:27 Pg. 7 of 12
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         '6U23154'.l7--SARAH HOOVER
         •Christina Henry
         .Henry & DeGraaff, PS
         '78 7 Maynard Ave S
         :Seattle, WA 98104 ·
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